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                            UN ITED STA TES DISTRICT C O U RT
                            SO U TH ER N DISTRICT O F FLO R IDA
                               CA SE N O . 16 -20897-C R-SEITZ


  UN ITED STA TES OF A M ERICA



  PIUNCESS CRUISE LINES,LTD.,

                       Defendant.



                        ORDER jETTING STATUSCONFERENCES
         TH IS m attercnm e before the Courton A pril3,2018 fora statusconference.O n April10,

  2018,the Courtissued an Or4eron StatusConference (DE 62)directing thepartiesto fileby

  April20,2018 a proposed revised schedule for the CourtAppointey Monitor's ($iCAM'')
  quarterly and armualreportsand the statusconferences,such thatthe statusconferenceswillbe

  scheduled afterthefiling ofthe quarterly and nnnualreports.

        Accordingly itisORDERED that:

         1. ln 2018 and 2019,theCAM willfileitsquarterly and nnnualreportsby thefollowing

            dates:

                June 18,2018tAmAuall
                September18,2018(Quarterly)
                December18,2018(Quafterly)
                M arch 18,2019(Quarterly)
                June 19,2019(Armual)
                September18,2019(Quarterly)
                December18,2019(Quarterly)
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           The statusconferencepreviously setforJune7,2018 isCANCELLED .

        3. The Courtwill hold status conferences,following subm ission of the above-listed

           reports,at2:00 p.m .on thefollowing dates:

              July 11,2018

              O ctober 3,2018

              January 9,2019

              April3,2019

              July 10,2019

              O ctober2,2019

              January 8,2020

           Thepartiesshallcoordinatetheirsubmission ofajointstatusreportasprovidedinthe
           Court'sDecember6,2017,OrderSettingStatusConferences(DE 54),andsubmitthe
           reportforthe Court's consideration no laterthan Gve business dayspriorto the date

           ofeach scheduled hearing.

        D ON E AN D ORD ERED in M iam i,Florida,this    * 6 dayofApril, 2018.

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                                          PA TR ICIA A .SE1 Z
                                          U N ITED STA TES D ISTRICT JUD G E




  cc:   A 11counselofrecord
        Probation




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